             Case 1:04-cr-05291-OWW Document 70 Filed 07/05/05 Page 1 of 2


1    QUIN DENVIR, Bar #49374
     Federal Defender
2    Melody M. Walcott, Bar #219930
     Assistant Federal Defender
3    2300 Tulare Street, Suite 330
     Fresno, California 93721-2226
4    Telephone: (559) 487-5561
5    Attorney for Defendant
     PRITAM KAUR TAGGAR
6
7
8                             IN THE UNITED STATES DISTRICT COURT
9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )           NO. 1:04-cr-5291 OWW
                                       )
12                   Plaintiff,        )           STIPULATION TO CONTINUE STATUS
                                       )           CONFERENCE HEARING; AND ORDER
13        v.                           )           THEREON
                                       )
14   HARBANS KAUR HOTHI, PARAMJIT      )
     SINGH TAGGAR, PRITAM KAUR         )           DATE: August 8, 2005
15   TAGGAR, and GURDEEP SINGH         )           TIME : 1:30 p.m.
     ATWAL                             )           DEPT: Hon. Oliver W. Wanger
16                                     )
                     Defendants.       )
17   _________________________________ )
18         IT IS HEREBY STIPULATED by and between the parties hereto, and through their
19   respective attorney of record herein, that the Status Conference Hearing in the above
20   captioned matter scheduled for July 5, 2005 be continued to August 8, 2005 at 1:30 p.m.
21         The grounds for the continuance are further plea negotiations.
22         The parties agree that the delay resulting from the continuance shall be excluded in the
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
               Case 1:04-cr-05291-OWW Document 70 Filed 07/05/05 Page 2 of 2


1    interests of justice herein pursuant to 18 U.S.C. 3161(h)(8)(A).
2            DATED: June 28, 2005                          McGREGOR M. SCOTT
                                                           United States Attorney
3
4
                                                           /s/ David L. Gappa
5                                                          DAVID L. GAPPA
                                                           Assistant U.S. Attorney
6                                                          Attorney for Plaintiff
7            DATED: June 28, 2005                          LAW OFFICES OF ANTHONY P. CAPOZZI
8
9                                                          /s/ Anthony P. Capozzi
                                                           ANTHONY P. CAPOZZI
10                                                         Attorney for Defendants
                                                           HARBANS KAUR HOTHI and
11                                                         PARAMJIT SINGH TAGGAR
12
             DATED: June 28, 2005                          QUIN DENVIR
13                                                         Federal Defender
14
15                                                         /s/ Melody M. Walcott
                                                           MELODY M. WALCOTT
16                                                         Assistant Federal Defender
                                                           Attorney for Defendant
17                                                         PRITAM KAUR TAGGAR
18           DATED: June 28, 2005                          LAW OFFICE OF ROGER K. LITMAN
19
20                                                         /s/ Roger K. Litman
                                                           ROGER K. LITMAN
21                                                         Attorney for Defendant
                                                           GURDEEP SINGH ATWAL
22
23
                                                         ORDER
24
             IT IS SO ORDERED.
25
             Dated: June _30__, 2005
26
27                                                         /s/ OLIVER W. WANGER
                                                           _________________________
28                                                         OLIVER W. WANGER, Judge
                                                           United States District Court
                                                           Eastern District of California
     Stipulation to Continue Status Conference Hearing     2
